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                            UNITED S TATES DIS TRICT COURT
                            SOUTHERN DIS TRICT OF FLORIDA

                                         CASE NO.

  RENZO BARBERI ,

                  P laint iff,

                  vs.

  MERCEDES' PLACE, INC., a Florida
  Profit Corporation, MERCEDES A.
  SCOTT, DAMASO ESPIRITUSANTO and
  NICOLE MERCEDES SCOTT, Individuals,

            Defendant s.
  _______________________________/

                                        COMPLAINT

  P laint iff RENZO BARBE RI (hereinaft er “P laint iff”), t hrough t he under signed
  counsel, hereby files t his co mplaint and sues MERCEDES' PLACE, INC. (“MP”),
  MERCEDES A. SCOTT, (“M. SCOTT”), NICOLE MERCEDES SCOTT ("N. SCOTT") and
  DAMASO ESPIRITUSANTO            (“D. ESPIRITUSANTO”)        (hereinaft er,   collect ivel y
  referred   to    as “Defendant s”),   for   declarat ory and    injunct ive relief;    for
  discr iminat io n based on disabilit y; and for t he result ant att orney's fees,
  expenses, and cost s ( including, but not limit ed t o, court cost s and expert fees),
  pursuant to 42 U.S.C. §12181 et. seq., ("AMERI CANS WITH DISABILITIES
  ACT OF 1990," or "ADA") and alleges:


  JURIS DICTION
  1.    This Court is vest ed wit h or iginal jur isdic t ion over t his act ion pursuant to
  28 U.S.C. §1331 and § 1343 for P laint iff’s claims ar is ing under T it le 42 U.S.C.
  §12181 et . seq., based on Defendant s’ violat ions of T it le III o f t he Amer icans
  wit h Disabilit ies Act of 1990, ( her einaft er referred t o as t he "ADA"). See also
  28 U.S.C. §2201 and §2202.



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  VENUE
  2.      The venue o f all event s giving r ise t o t his lawsuit is lo cat ed in MI AMI-
  DADE Count y, Flor ida. Pur suant t o 28 U.S.C. §1391(B) and rule 3.1 of Loca l
  Ru les o f t he Unit ed St at es Dist r ict Court for t he Sout her n Dist r ict of Flor ida,
  t his is t he designat ed court for t his suit .


  PARTIES
  3.     P laint iff, RENZO BARBERI , is a resident of t he St at e of Flor ida. At t he
  t ime o f P laint iff’s vis it t o Mercedes Place Beauty Salon (“Subject Facility”), P la int iff
  suffered fro m a “qualified disabilit y” under t he ADA, and requir ed t he use o f a
  wheelchair for mobilit y. Specifically, P laint iff suffer s fro m paraplegia due t o a
  sever ed T4 and T5, and is t her efore confined t o his wh eelcha ir. T he P laint iff
  personally vis it ed Mercedes Place Beauty Salon, but was denied full and equa l
  access, and full and equal enjo yment of t he facilit ies, ser vices, goods, and
  amenit ies wit hin Mercedes Place Beauty Salon, which is t he subject of t his lawsuit .
  The Subject Facilit y is hair salo n and P laint iff want ed to have his hair cut , but
  was unable t o due to t he discr iminat ory barr ier s enumerat ed in Paragraph 15 o f
  t his Co mpla int .


  4.     In t he alt er nat ive, P laint iff, RENZO BARBE RI , is an advocat e of t he
  r ight s of similar ly sit uat ed disabled per sons and is a “t est er” for t he purpose of
  assert ing his civil r ight s and monit or ing, ensur ing and det er mining whet her
  places o f public acco mmodat ion are in co mpliance wit h t he ADA.


  5.     Defendant s, MP, M. SCOTT, N. SCOTT and D. ESPIRITUSANTO are aut hor ized
  to conduct business and are in fact conduct ing business wit hin t he St at e of
  Flor ida. The Subject Facilit y is locat ed at 32 N.W. 167th Street, North Miami Beach,
  FL 33169. Upon infor mat ion and belie f, MP is t he lessee and/or operator of t he
  Real Propert y and t her efore held account able o f t he vio lat io ns o f t he ADA in t he
  Subject Facilit y which is t he mat t er of t his suit . Upon in for mat io n and belief, M.
  SCOTT, N. SCOTT and D. ESPIRITUSANTO are t he owner s and lessors of t he Real

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  Propert y where t he Subject Facilit y is locat ed and t herefore held account able for
  t he vio lat ions o f t he ADA in t he Subject Facilit y which is t he mat t er of t his suit .


  CLAIMS: VIOLATIO NS OF TH E AMERICANS WITH DISAB ILITIES ACT
  6.     P laint iff adopt s and re-alleges t he alle gat ions st at ed in par agraphs 1
  t hrough 5 of t his co mpla int , as are furt her expla ined herein.


  7.     On July 26, 1990, Congress enact ed t he Amer icans w it h Disabilit ies Act
  ("ADA"), 42 U.S.C. §12101 et . seq. Co mmer cial ent erpr ises were provided one
  and a half year s fro m enact ment of t he st at ut e to implement it s requirement s.
  The effect ive dat e of T it le III of t he ADA was Januar y 26, 1992, or Januar y 26,
  1993 if Defendant s had t en (10) or fewer emplo yees and gross receipt s o f
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.     As st at ed in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  amo ng ot her t hings, t hat :

         i. so me 43,000,000 Amer icans have one or more phys ical or ment a l
           disabilit y, and t his number shall increase as t he populat io n cont inues t o
           grow and age;

         ii. hist or ica lly, societ y has t ended t o isolat e and segregat e individuals
           wit h disabilit ies and, despit e so me improvement s, such for ms o f
           discr iminat io n against disabled individuals cont inue t o be a pe rvasive
           social pro blem, requir ing ser ious at t ent ion;

         iii. discr iminat io n against disabled individuals per sist s in such cr it ica l
           areas as emplo yment , housing, public acco mmodat io ns, t ransport at io n,
           co mmunicat ion, recreat io n, inst it ut ionalizat ion, healt h se rvices, vot ing
           and access t o public ser vices and public facilit ies;

         iv.      individuals    wit h disabilit ies cont inually suffer               for ms o f
           discr iminat io n,    including:     out right    int ent io nal    exclusio n;    t he
           discr iminat or y     effect s   of     archit ect ural,      t ransport at io n,  and
           co mmunicat ion barr iers; failur e t o make modificat io ns t o exist ing
           facilit ies and pract ices; exclusio nar y qualificat ion st andards and
           cr it er ia; segregat io n, and regulat ion t o lesser ser vices, programs,
           benefit s, or ot her opport unit ies; and,

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           v. t he cont inuing exist ence of unfair and unnecessar y discr iminat io n and
             prejudice denies people wit h disabilit ies t he opport unit y t o compet e on
             an equal basis and t o pursue t hose opport unit ies for which t his count r y
             is just ifiably famous, and cost s t he Unit ed St at es b illio ns o f do llars in
             unnecessar y expenses result ing fro m dependency and non -product ivit y.

  9.       As st at ed in 42 U.S.C. §12101( b)(1)(2) and (4), Congress explic it ly st at ed
  t hat t he purpose o f t he ADA was t o:

           i. provide a clear and co mprehensive nat ional man dat e for t he eliminat io n
             of discr iminat io n against individuals wit h disabilit ies;

           ii. provide clear, st rong, consist ent , enforceable st andards addressing
             discr iminat io n against individuals wit h disabilit ies; and,

           iii. invoke t he sweep of congressio nal au t horit y, including t he power to
             enforce t he fourt eent h amendment and t o regulat e co mmerce, in order to
             address t he ma jor areas of discr iminat ion faced on a daily basis by
             people wit h disabilit ies.

  10.      Pursuant t o 42 U.S.C. §12181(7), and 28 CFR §36.104, T it le III, no
  individual ma y be discr iminat ed against on t he basis o f disabilit y wit h regards
  to    t he   full   and   equal   enjo yment   of t he   goods,   services,   facilit ies,   or
  acco mmo dat ions o f any place of public acco mmodat ion by any per son who
  owns, leases (or leases t o), or operat es a p lace o f public acco mmodat io n.
  Mercedes Place Beauty Salon is a place o f public acco mmodat ion by t he fact it is a n
  est ablishment t hat provides goods/ser vices t o t he general public, and t herefore,
  must comply wit h t he ADA. T he Subje ct Facilit y is open t o t he public, it s
  operat ions affect commer ce, and it is a beaut y shop. See 42 U.S.C. Sec. 12181
  (7) and 28 C. F.R. 36.104.             Therefore, t he Subject      Facilit y is a pu blic
  acco mmo dat ion t hat must co mply wit h t he ADA.


  11.      The Defendant s have discr iminat ed, and cont inue t o discr iminat e against
  t he P laint iff, and ot hers who are similar ly sit uat ed, by denying access t o, and
  full and equal enjo yment of goods, ser vices, facilit ies, pr ivileges, advant ages
  and/or acco mmodat ions at Mercedes Place Beauty Salon locat ed at 32 N.W. 167th Street,
  North Miami Beach, FL 33169, as pro hibit ed by 42 U.S.C. §12182, and 42 U.S.C.

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  §12101 et . seq. ; and by failing t o remove archit ect ural b arr ier s pur suant to 42
  U.S.C. §12182(b)(2)( A)( iv).


  12.    P laint iff has vis it ed t he Subject Facilit y, and has been denied fu ll, safe,
  and equal access t o t he facilit y and t herefore suffered an injur y in fact .


  13.    P laint iff shall suffer a fut ure injur y as P laint iff int ends t o ret urn and
  enjo y t he goods and/or ser vices at t he Subject Facilit y wit hin t he next six
  mo nt hs. The Subject Facilit y is in clo se proximit y t o Plaint iff’s res idence and is
  in an area fre quent ly t ravelled by P laint iff. Furt her more, P laint iff will a lso
  ret urn to monit or compliance wit h t he ADA. However, P laint iff is precluded
  fro m do ing so by t he Defendant s' failur e and refusal t o provide people wit h
  disabilit ies wit h full and equa l access to t heir facilit y. Therefore, P laint if f
  cont inues t o suffer fro m discr iminat io n and injur y due t o t he archit ect ural
  barr iers, which ar e in vio lat io n o f t he ADA.


  14.    Pursuant to t he mandat es o f 42 U.S.C. §12134(a), on July 26, 1991, t he
  Depart ment o f Just ice, Office o f t he Attorney General, pro mu lgat ed Feder a l
  Regulat io ns to imple ment t he requirement s of t he ADA. The ADA Accessibilit y
  guidelines ( hereinaft er referred t o as “ADAAG”), 28 C. F.R. Part 36, ma y cause
  vio lat ors to obt ain civil penalt ies of up to $55,000 for t he fir st vio lat io n and
  $110,000 for any subsequent vio lat io n.


  15.    The Defendant s are in vio lat ion o f 42 U.S.C. §12181 et . seq., and 28

  C.F.R. 36.302 et . seq., and ar e discr iminat ing against t he P laint iff wit h t he

  fo llo wing specific vio lat ions which P laint iff perso nally encount ered and/or has

  knowledge of:

            a) The customer parking facility in front of the salon does not provide a

                compliant accessible parking space. 2010 ADA Standards 502.1


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           b) The parking facility does not have the minimum number of compliant

              accessible parking spaces required. 2010 ADA Standards 208.2

           c) The parking facility in front of the store has seven (7) marked standard

              spaces and one (1) non-compliant accessible parking space. One (1)

              compliant accessible parking space with adjacent access aisle is required.

              2010 ADA Standards 208.2

           d) The access aisle is missing. Access aisles must be placed adjacent to

              accessible parking spaces. Access aisles must adjoin an accessible route.

              2010 ADA Standards 502.3

           e) The parking facility does not provide compliant directional and

              informational signage to a compliant accessible parking space. 2010 ADA

              Standards 216.5

           f) The accessible parking space identification striping is too narrow. 2010

              ADA Standards 502.2

           g) The accessible parking space identification striping is mismarked. Each

              such parking space must be striped in a manner that is consistent with the

              standards of FDOT for other spaces and prominently outlined with blue

              paint, and must be repainted when necessary, to be clearly distinguishable

              as a parking space designated for persons who have disabilities. 2010

              ADA Standards 502.6.1

           h) The non-compliant accessible parking space sign is missing.          Each

              accessible parking space must be posted with a permanent above-grade

              sign of a color and design approved by the Department of Transportation,



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              which is placed on or at least 60 inches above the finished floor or ground

              surface measured to the bottom of the sign and which bears the

              international symbol of accessibility and the caption “PARKING BY

              ACCESSIBLE PERMIT ONLY” and must indicate the penalty for illegal

              use of the space. 2010 ADA Standards 502.6

           i) There is no compliant access aisle attached to an accessible route serving

              any existing parking space which would allow safe entrance or exit of

              vehicle for accessible persons requiring mobility devices.     2010 ADA

              Standards 502.3

           j) There is currently no existing accessible route to help persons with

              disabilities safely maneuver through the parking facility as required. 2010

              ADA Standards 206.2.2

           k) The entrance from the sidewalk is non-compliant. There is a vertical

              change in level from the ground surface of the parking lot up to the

              sidewalk in front of the store creating a barrier for persons with

              disabilities. Changes in level of 1/4 inch high maximum are permitted to

              be vertical. 2010 ADA Standards 303.2

           l) There is a non-compliant ramp on the east end of the sidewalk protruding

              into a standard parking space. Ramps must have landings at the top and

              the bottom of each ramp run. 2010 ADA Standards 405.7

           m) There is a non-compliant handrail attached to the ramp. Ramp handrails

              must extend horizontally above the landing for 12 inches minimum




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                 beyond the top and bottom of ramp runs. Extensions must return to a wall,

                 guard, or the landing surface. 2010 ADA Standards 505.10.1

             n) The facility does not provide compliant directional and informational

                 signage to an accessible route which would lead to an accessible entrance.

                 Where not all entrances comply, compliant entrances must be identified by

                 the International Symbol of Accessibility. Directional signs that indicate

                 the location of the nearest compliant entrance must be provided at

                 entrances that do not comply. 2010 ADA Standards 216.6

             o) Existing facility does not provide a compliant accessible route to the

                 entrance from any site arrival point. 2010 ADA Standards 206.2.1, 401.1

  16.    Upon infor mat ion and belief t here are ot her current vio lat io ns o f t he AD A
  at Mercedes Place Beauty Salon. Only upon full inspect io n can all vio lat io ns be
  ident ified.   According ly, a co mplet e list of vio lat ions will r equire an on - sit e
  inspect ion by P laint iff’s represent at ives pursuant to Rule 34b of t he Federa l
  Rules of Civil Procedure.


  17.    Upon infor mat io n and belief, P laint iff alleges t hat removal o f t he
  discr iminat or y barr iers and vio lat io ns is readily achievable and t echnicall y
  feasible. To dat e, t he readily achievable barr ier s and ot her vio lat io ns of t he
  ADA st ill e xist and have not been remedied or alt ered in such a way as t o
  effect uat e compliance wit h t he provis io ns of t he ADA.


  18.    Pursuant to t he ADA, 42 U.S.C. §12101 et . seq., and 28 C.F.R. §36.304,
  t he Defendant s were required t o make t he est ablishment a place o f public
  acco mmo dat ion, accessible t o persons wit h disabilit ies by Januar y 28, 1992. As
  of t his dat e t he Defendant s have failed t o co mply wit h t his mandat e.


  19.    The P la int iff has been obligat ed t o ret ain t he under signed counsel for t he

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  filing and prosecu t io n o f t his act ion. P laint iff is ent it led t o have it s reasonable
  att orney's fees, cost s and expenses paid by t he Defendant s, pursuant to 42
  U.S.C. §12205.


  20.    Pursuant to 42 U.S.C. §12188, t his Court is vest ed wit h t he aut hor it y t o
  grant P laint iff injunc t ive relief, including an order to alt er t he subject facilit ie s
  to make t hem readily accessible and useable by individuals wit h disabilit ies t o
  t he ext ent required by t he ADA, and clo sing t he Subject Facilit y unt il t he
  requisit e modificat io ns ar e co mplet ed .


  REQUEST FOR RELIEF
  WHERE FORE, t he P la int iff demands judgment against t he Defendant s and
  request s t he fo llo wing injunct ive and declarat ory relief:


  21. That t his Honorable Court declares t hat t he Subject Facilit y owned, operat ed
  and/o r cont rolled by t he Defendant s is in vio lat io n o f t he ADA;


  22.    That t his Honorable Court ent er an Order requir ing Defendant s t o alt er t he
  Subject Facilit y t o make it accessible to and usable by individuals wit h
  disabilit ies to t he full ext ent requir ed by T it le III of t he ADA;


  23.    That t his Honorable Court ent er an Or der dir ect ing t he Defendant s t o
  evaluat e and neut ralize t heir po licies, pract ices and procedures toward persons
  wit h disabilit ies, for such reaso nable t ime so as t o allo w t he Defendant s t o
  undert ake and co mplet e correct ive procedures t o t he Subject Facilit y;


  24.    That t his Honorable Court award reasonable at torney's fees, all cost s
  ( including, but not limit ed t o court cost s and expert fees) and ot her expenses o f
  suit , to t he P laint iff; and


  25.    That t his Honorable Court award such ot her and furt her r elief as it deems

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   necessar y, just and proper.

   Dat ed t his August 8, 2019.

   Respect fully submit t ed by:

   Ronald E. Stern
   Ronald E. St ern, Esq.
   Flor ida Bar No. 10089
   THE ADVOCACY LAW FIRM, P.A.
   1250 East Hallanda le Beach Boulevard, Suit e 503
   Hallandale Beach, Flor ida 33009
   Telephone: (954) 639-7016
   Facsimile: (954) 639-7198
   At t orney for P laint iff, RENZO BARBERI




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                          UNITED S TATES DIS TRICT COURT
                          SOUTHERN DIS TRICT OF FLORIDA

                                          CASE NO.

   RENZO BARBERI,

                P laint iff,

                vs.

   MERCEDES' PLACE, INC., a Florida
   Profit Corporation, MERCEDES A.
   SCOTT, DAMASO ESPIRITUSANTO and
   NICOLE MERCEDES SCOTT, Individuals,

             Defendant s.
   _______________________________/

                               CERTIFICATE OF S ERVICE

          I HEREBY CERTI FY t hat on August 8, 2019, I elect ronically filed t he
   Co mplaint alo ng wit h a Summo ns for each Defendant wit h t he Clerk o f Court
   using CM/E CF. I also cert ify t hat t he aforement io ned document s are be ing
   ser ved on a ll counsel o f record, corporat ions, or pro se part ies ident ified o n t he
   att ached Ser vice List in t he manner specified via Ser vice of Process by an
   aut hor ized Process Ser ver, and t hat all fut ure pleadings, mot io ns and document s
   will be ser ved eit her via t ransmissio n o f Not ices of E lect ronic Filing generat ed
   by CM/ECF or Via U.S. Mail for t hose counsel or part ies who are not aut hor ized
   to receive elect ronically Not ices o f E lect ronic Filing.

   By: Ronald E. Stern
   Ronald E. St ern, Esq.
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                                     SERVICE LIS T:

       RENZO BARBERI, P laint iff, vs. MERCEDES' PLACE, INC., a Florida Profit
       Corporation, MERCEDES A. SCOTT, DAMASO ESPIRITUSANTO and NICOLE
                           MERCEDES SCOTT, Individuals

              Unit ed St at es Dist r ict Court Sout her n Dist r ict Of Flor ida

                                         CASE NO.

   MERCEDES' PLACE, INC.

   REGIS TERED AG ENT:

   SCOTT, MERCEDES AP
   32 NW 167TH ST
   MIAMI, FL 33169

   VIA PROCESS SERVER


   MERCEDES A. SCOTT

   1994 S W 94 TERRACE
   MIRAMAR, FL 33025

   VIA PROCESS SERVER


   DAMASO ESPIRITUSANTO

   1994 S W 94 TERRACE
   MIRAMAR, FL 33025

   VIA PROCESS SERVER

   NICOLE MERCEDES SCOTT

   1994 S W 94 TERRACE
   MIRAMAR, FL 33025

   VIA PROCESS SERVER




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